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     UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT

                                           )

                                           )
 CASSANRA JOHNSON-LANDRY                   )
 DEBTOR                                    )                    BRC 18-55697 LRC


 SUBMISSION: DEBTOR'S SPOUSES COMMUNICATION WITH CREDIT ONE BANK
 REGARDING FRAUDLUENT IN ATTEMPT TO TARGET DEBTOR POSSIBLE
 INVOLVEMENT OF POSSIBLE BRC STAFF AND COLLBORATIVES.

 Debtor, CASSANDRA JOHNSON-LANDRY, currently submits communication with

 Credit One and Debtor's Spouse, It appears there Debtor's Spouse Personal Debit Card

 was breeched. Payments to Debtor's Spouse Credit Card was made via Debtor's Spouse

 Credit Card. Debtor is fully aware of those involved and knows this is behavior is being

 targeted towards Debtors Debtor's Spouse does not have a Bankruptcy Case, however due

 to the illegal violation of Credit One Bank as outlined within attached communication,

 Fraud has been committed against Debtor's Spouse as Retaliation. Credit One Bank Staff

 was obviously being utilized to obtain information to cover wrongdoings of those associated

 with Debtor's Case, such as theft and more.
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